                         Case 1-24-43232-ess               Doc 1        Filed 08/01/24           Entered 08/01/24 19:49:06



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Global Supplies NY Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  138 31st Street
                                  Brooklyn, NY 11232
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                       Case 1-24-43232-ess                      Doc 1       Filed 08/01/24              Entered 08/01/24 19:49:06

Debtor    Global Supplies NY Inc.                                                                      Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4445

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                        Case 1-24-43232-ess                         Doc 1        Filed 08/01/24            Entered 08/01/24 19:49:06

Debtor    Global Supplies NY Inc.                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 1-24-43232-ess                Doc 1    Filed 08/01/24         Entered 08/01/24 19:49:06

Debtor   Global Supplies NY Inc.                                                      Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                       Case 1-24-43232-ess                  Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06

Debtor    Global Supplies NY Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 1, 2024
                                                  MM / DD / YYYY


                             X /s/ Samuel Y. Seidenfeld                                                   Samuel Y. Seidenfeld
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Rachel S. Blumenfeld                                                    Date August 1, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Rachel S. Blumenfeld
                                 Printed name

                                 Law Office of Rachel S. Blumenfeld PLLC
                                 Firm name

                                 26 Court Street
                                 Suite 2220
                                 Brooklyn, NY 11242
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     718-858-9600                  Email address      rachel@blumenfeldbankruptcy.com

                                 1458 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                     Case 1-24-43232-ess                 Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06




Fill in this information to identify the case:

Debtor name         Global Supplies NY Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 1, 2024                  X /s/ Samuel Y. Seidenfeld
                                                           Signature of individual signing on behalf of debtor

                                                            Samuel Y. Seidenfeld
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                       Case 1-24-43232-ess                  Doc 1          Filed 08/01/24              Entered 08/01/24 19:49:06



 Fill in this information to identify the case:
 Debtor name Global Supplies NY Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                             Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Amazon                                              loan                                                  $528,800.00                        $0.00            $528,800.00
 410 Terry Ave
 Seattle, WA 98109
 American Express                                    credit card                                                                                                 $49,396.78
 PO Box 981535
 El Paso, TX
 79998-1535
 Amex 2001                                           credit card                                                                                               $100,530.28
 PO Box 1270
 Newark, NJ 07101
 Amex 8007                                           credit card                                                                                                 $50,408.38
 PO Box 1270
 Newark, NJ 07101
 Capital One                                         credit card                                                                                                 $61,089.27
 1389 Peachtreet St
 NE
 Atlanta, GA 30309
 CFT Clear                                           loan                                                                                                      $905,000.00
 2810 N Church St
 #68100
 Wilmington, DE
 19802
 Con Edison                                          utilities                                                                                                     $1,951.83
 PO Box 1701
 New York, NY 10016
 Drip Capital                                        loan                                                                                                        $92,285.80
 555 Bryant Street
 #356
 Palo Alto, CA 94301
 Everest Funding                                     MCA                                                                                                       $317,000.00
 102 W 38th St 6th Fl
 New York, NY 10018
 Flushing Bank                                       loan                                                  $720,109.61                        $0.00            $720,109.61
 PO Box 9000
 East Meadow, NY
 11554



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                       Case 1-24-43232-ess                  Doc 1          Filed 08/01/24              Entered 08/01/24 19:49:06




 Debtor    Global Supplies NY Inc.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Goldman Sachs                                       loan                                                  $301,017.45                        $0.00            $301,017.45
 PO Box 45400
 Salt Lake City, UT
 84145
 National Grid                                       utilites                                                                                                        $117.72
 PO Box 371416
 Pittsburgh, PA
 15250
 OnDeck                                              MCA                                                                                                         $94,424.85
 1400 Broadway
 New York, NY 10018
 Parafin                                             MCA                                                                                                         $55,705.23
 301 Howard Street
 Suite 1500
 San Francisco, CA
 94105
 Ramp                                                loan                                                                                                      $133,000.00
 28 West 23rd St 2nd
 Fl
 New York, NY 10010
 SBA EIDL                                            loan                                                  $141,228.00                        $0.00            $141,228.00
 US Small Business
 Admin
 2 North Street
 Suite 320
 Birmingham, AL
 35203
 Sellers Funding                                     loan                                                   $48,235.58                        $0.00              $48,235.58
 1290 Weston Road
 Fort Lauderdale, FL
 33326
 Sellers Funding                                     loan                                                   $33,091.38                        $0.00              $33,091.38
 1290 Weston Road
 Fort Lauderdale, FL
 33326
 Spectrum                                            internet                                                                                                        $121.99
 P.O. Box 7186
 Pasadena, CA 91109




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                         Case 1-24-43232-ess                                     Doc 1              Filed 08/01/24                         Entered 08/01/24 19:49:06


Fill in this information to identify the case:

Debtor name           Global Supplies NY Inc.

United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,115,425.31

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,115,425.31


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,772,482.02


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,861,032.13


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           3,633,514.15




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                     Case 1-24-43232-ess                Doc 1        Filed 08/01/24            Entered 08/01/24 19:49:06


Fill in this information to identify the case:

Debtor name         Global Supplies NY Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Flushing Bank                                     checking                              2292                                     $1,200.00




          3.2.     Flushing Bank                                     checking                              4515                                     $1,628.00




          3.3.     Chase                                             checking                              5806                                     $6,826.31




          3.4.     Amazon Account - current lien by Clear                                                                                        $100,964.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $110,618.31
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                    Case 1-24-43232-ess                  Doc 1        Filed 08/01/24              Entered 08/01/24 19:49:06


Debtor       Global Supplies NY Inc.                                                        Case number (If known)
             Name




Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                  156,177.00        -                                   0.00 = ....                $156,177.00
                                      face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                       57,897.00       -                                  0.00 =....                   $57,897.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                        $214,074.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          inventory                                                                       $0.00                                       $744,133.00



22.       Other inventory or supplies
          used warehouse
          shelving                                                                        $0.00                                         $6,500.00




23.       Total of Part 5.                                                                                                        $750,633.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2
                    Case 1-24-43232-ess                  Doc 1        Filed 08/01/24                Entered 08/01/24 19:49:06


Debtor       Global Supplies NY Inc.                                                        Case number (If known)
             Name


             No
             Yes. Book value                               Valuation method                               Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of            Valuation method used   Current value of
                                                                         debtor's interest            for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures
          office fixtures; used computer monitors                                         $0.00                                          $2,600.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $2,600.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of            Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest            for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    Yale 1996 fork lift ERC30                                              $0.00                                         $10,000.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
                     Case 1-24-43232-ess                 Doc 1       Filed 08/01/24              Entered 08/01/24 19:49:06


Debtor        Global Supplies NY Inc.                                                      Case number (If known)
              Name



           47.2.    Ford Transit 250 Van 2018                                            $0.00                                 $27,500.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                  $37,500.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                page 4
                        Case 1-24-43232-ess                             Doc 1            Filed 08/01/24                   Entered 08/01/24 19:49:06


Debtor          Global Supplies NY Inc.                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $110,618.31

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $214,074.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $750,633.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $2,600.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $37,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,115,425.31            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,115,425.31




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
                        Case 1-24-43232-ess                      Doc 1         Filed 08/01/24             Entered 08/01/24 19:49:06


Fill in this information to identify the case:

Debtor name         Global Supplies NY Inc.

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Amazon                                       Describe debtor's property that is subject to a lien                 $528,800.00                       $0.00
      Creditor's Name                              loan
      410 Terry Ave
      Seattle, WA 98109
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Flushing Bank                                Describe debtor's property that is subject to a lien                 $720,109.61                       $0.00
      Creditor's Name                              loan
      PO Box 9000
      East Meadow, NY 11554
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                        Case 1-24-43232-ess                     Doc 1         Filed 08/01/24             Entered 08/01/24 19:49:06


Debtor      Global Supplies NY Inc.                                                               Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Goldman Sachs                               Describe debtor's property that is subject to a lien                     $301,017.45   $0.00
      Creditor's Name                             loan
      PO Box 45400
      Salt Lake City, UT 84145
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   SBA EIDL                                    Describe debtor's property that is subject to a lien                     $141,228.00   $0.00
      Creditor's Name                             loan
      US Small Business Admin
      2 North Street
      Suite 320
      Birmingham, AL 35203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Sellers Funding                             Describe debtor's property that is subject to a lien                      $33,091.38   $0.00
      Creditor's Name                             loan
      1290 Weston Road
      Fort Lauderdale, FL 33326
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 2 of 3
                         Case 1-24-43232-ess                     Doc 1         Filed 08/01/24             Entered 08/01/24 19:49:06


Debtor       Global Supplies NY Inc.                                                               Case number (if known)
             Name

       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.6    Sellers Funding                             Describe debtor's property that is subject to a lien                      $48,235.58                   $0.00
       Creditor's Name                             loan
       1290 Weston Road
       Fort Lauderdale, FL 33326
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $1,772,482.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       2

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
                       Case 1-24-43232-ess                     Doc 1         Filed 08/01/24                   Entered 08/01/24 19:49:06


Fill in this information to identify the case:

Debtor name        Global Supplies NY Inc.

United States Bankruptcy Court for the:         EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $49,396.78
          American Express                                                     Contingent
          PO Box 981535                                                        Unliquidated
          El Paso, TX 79998-1535                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: credit card
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $100,530.28
          Amex 2001                                                            Contingent
          PO Box 1270                                                          Unliquidated
          Newark, NJ 07101                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: credit card
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,408.38
          Amex 8007                                                            Contingent
          PO Box 1270                                                          Unliquidated
          Newark, NJ 07101                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: credit card
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $61,089.27
          Capital One                                                          Contingent
          1389 Peachtreet St NE                                                Unliquidated
          Atlanta, GA 30309                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: credit card
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                          33345
                        Case 1-24-43232-ess                Doc 1    Filed 08/01/24                   Entered 08/01/24 19:49:06


Debtor      Global Supplies NY Inc.                                                         Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $905,000.00
         CFT Clear                                                    Contingent
         2810 N Church St #68100                                      Unliquidated
         Wilmington, DE 19802                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,951.83
         Con Edison                                                   Contingent
         PO Box 1701                                                  Unliquidated
         New York, NY 10016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $92,285.80
         Drip Capital                                                 Contingent
         555 Bryant Street #356                                       Unliquidated
         Palo Alto, CA 94301                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $317,000.00
         Everest Funding                                              Contingent
         102 W 38th St 6th Fl                                         Unliquidated
         New York, NY 10018                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: MCA
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $117.72
         National Grid                                                Contingent
         PO Box 371416                                                Unliquidated
         Pittsburgh, PA 15250                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: utilites
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $94,424.85
         OnDeck                                                       Contingent
         1400 Broadway                                                Unliquidated
         New York, NY 10018                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: MCA
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $55,705.23
         Parafin                                                      Contingent
         301 Howard Street                                            Unliquidated
         Suite 1500                                                   Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim: MCA
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 3
                        Case 1-24-43232-ess                   Doc 1         Filed 08/01/24                   Entered 08/01/24 19:49:06


Debtor       Global Supplies NY Inc.                                                                Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $133,000.00
          Ramp                                                                Contingent
          28 West 23rd St 2nd Fl                                              Unliquidated
          New York, NY 10010                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No     Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $121.99
          Spectrum                                                            Contingent
          P.O. Box 7186                                                       Unliquidated
          Pasadena, CA 91109                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: internet
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                           5a.         $                           0.00
5b. Total claims from Part 2                                                                           5b.    +    $                   1,861,032.13

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.         $                       1,861,032.13




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
                     Case 1-24-43232-ess                 Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06


Fill in this information to identify the case:

Debtor name       Global Supplies NY Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining          month to month                     Gramco School & Office
                                                                                    Supplies
           List the contract number of any                                          126 31st Street
                 government contract                                                Brooklyn, NY 11232




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                  Case 1-24-43232-ess                  Doc 1          Filed 08/01/24         Entered 08/01/24 19:49:06


Fill in this information to identify the case:

Debtor name      Global Supplies NY Inc.

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                     Schedule H: Your Codebtors                                            Page 1 of 1
                     Case 1-24-43232-ess                Doc 1         Filed 08/01/24              Entered 08/01/24 19:49:06




Fill in this information to identify the case:

Debtor name         Global Supplies NY Inc.

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $7,376,003.14
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $18,559,880.16
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                           $21,342,565.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                    Case 1-24-43232-ess                   Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06


Debtor       Global Supplies NY Inc.                                                            Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Global Supplies Inc. v. Aaryn            declaratory relief          United States District Court                  Pending
              April Fuller, aka Aaron Fuller                                       Middle District Florida                       On appeal
              et al                                                                Orland Division
                                                                                                                                 Concluded
              6:23-cv-926-GAP-RMN

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
                     Case 1-24-43232-ess                   Doc 1        Filed 08/01/24              Entered 08/01/24 19:49:06


Debtor        Global Supplies NY Inc.                                                              Case number (if known)



      Description of the property lost and              Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                            lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received               If not money, describe any property transferred              Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Law Office of Rachel S.
                Blumenfeld PLLC
                26 Court Street, Suite 2220
                Brooklyn, NY 11242                         $30,000 (includes the chapter 11 filing fee)                 7/25/2024                $30,000.00

                Email or website address
                rachel@blumenfeldbankruptcy.com

                Who made the payment, if not debtor?
                Samuel Y. Seidenfeld



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                   Description of property transferred or                     Date transfer            Total amount or
               Address                                  payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
                    Case 1-24-43232-ess                    Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06


Debtor      Global Supplies NY Inc.                                                              Case number (if known)



    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
                    Case 1-24-43232-ess                   Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06


Debtor      Global Supplies NY Inc.                                                             Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
                      Case 1-24-43232-ess                 Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06


Debtor      Global Supplies NY Inc.                                                             Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Moshe Tauber                                                                                                    since 2020
                    17 Perlman Drive
                    Suite 214
                    Spring Valley, NY 10977

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Sam Seidenfeld                          1222 40th Street                                    president                                 100%
                                              Brooklyn, NY 11218



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
                     Case 1-24-43232-ess                  Doc 1        Filed 08/01/24             Entered 08/01/24 19:49:06


Debtor      Global Supplies NY Inc.                                                             Case number (if known)



             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Sam Seidenfeld
      .                                                $2,500 gross weekly                                                         services provided

             Relationship to debtor
             President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 1, 2024

/s/ Samuel Y. Seidenfeld                                        Samuel Y. Seidenfeld
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
                     Case 1-24-43232-ess                   Doc 1       Filed 08/01/24            Entered 08/01/24 19:49:06


B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Eastern District of New York
 In re       Global Supplies NY Inc.                                                                          Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 30,000.00
             Prior to the filing of this statement I have received                                        $                 30,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Samuel Y. Seidenfeld

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 1, 2024                                                           /s/ Rachel S. Blumenfeld
     Date                                                                     Rachel S. Blumenfeld
                                                                              Signature of Attorney
                                                                              Law Office of Rachel S. Blumenfeld PLLC
                                                                              26 Court Street
                                                                              Suite 2220
                                                                              Brooklyn, NY 11242
                                                                              718-858-9600
                                                                              rachel@blumenfeldbankruptcy.com
                                                                              Name of law firm
                   Case 1-24-43232-ess                     Doc 1         Filed 08/01/24             Entered 08/01/24 19:49:06


                                                      United States Bankruptcy Court
                                                             Eastern District of New York
 In re    Global Supplies NY Inc.                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date August 1, 2024                                                      Signature /s/ Samuel Y. Seidenfeld
                                                                                        Samuel Y. Seidenfeld

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                 Case 1-24-43232-ess     Doc 1     Filed 08/01/24        Entered 08/01/24 19:49:06




                                      United States Bankruptcy Court
                                           Eastern District of New York
 In re    Global Supplies NY Inc.                                               Case No.
                                                         Debtor(s)              Chapter    11




                                VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




Date:     August 1, 2024                      /s/ Samuel Y. Seidenfeld
                                              Samuel Y. Seidenfeld/President
                                              Signer/Title

Date: August 1, 2024                          /s/ Rachel S. Blumenfeld
                                              Signature of Attorney
                                              Rachel S. Blumenfeld
                                              Law Office of Rachel S. Blumenfeld PLLC
                                              26 Court Street
                                              Suite 2220
                                              Brooklyn, NY 11242
                                              718-858-9600




USBC-44                                                                                                Rev. 9/17/98
    Case 1-24-43232-ess   Doc 1   Filed 08/01/24   Entered 08/01/24 19:49:06




}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                   Amazon
                   410 Terry Ave
                   Seattle, WA 98109


                   American Express
                   PO Box 981535
                   El Paso, TX 79998-1535


                   Amex 2001
                   PO Box 1270
                   Newark, NJ 07101


                   Amex 8007
                   PO Box 1270
                   Newark, NJ 07101


                   Capital One
                   1389 Peachtreet St NE
                   Atlanta, GA 30309


                   CFT Clear
                   2810 N Church St #68100
                   Wilmington, DE 19802


                   Con Edison
                   PO Box 1701
                   New York, NY 10016


                   Drip Capital
                   555 Bryant Street #356
                   Palo Alto, CA 94301


                   Everest Funding
                   102 W 38th St 6th Fl
                   New York, NY 10018


                   Flushing Bank
                   PO Box 9000
                   East Meadow, NY 11554


                   Goldman Sachs
                   PO Box 45400
                   Salt Lake City, UT 84145
Case 1-24-43232-ess   Doc 1   Filed 08/01/24   Entered 08/01/24 19:49:06




               Gramco School & Office
               Supplies
               126 31st Street
               Brooklyn, NY 11232


               National Grid
               PO Box 371416
               Pittsburgh, PA 15250


               OnDeck
               1400 Broadway
               New York, NY 10018


               Parafin
               301 Howard Street
               Suite 1500
               San Francisco, CA 94105


               Ramp
               28 West 23rd St 2nd Fl
               New York, NY 10010


               SBA EIDL
               US Small Business Admin
               2 North Street
               Suite 320
               Birmingham, AL 35203


               Sellers Funding
               1290 Weston Road
               Fort Lauderdale, FL 33326


               Sellers Funding
               1290 Weston Road
               Fort Lauderdale, FL 33326


               Spectrum
               P.O. Box 7186
               Pasadena, CA 91109
                Case 1-24-43232-ess         Doc 1     Filed 08/01/24      Entered 08/01/24 19:49:06




                                         United States Bankruptcy Court
                                              Eastern District of New York
 In re   Global Supplies NY Inc.                                                     Case No.
                                                            Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Global Supplies NY Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




August 1, 2024                                 /s/ Rachel S. Blumenfeld
Date                                           Rachel S. Blumenfeld
                                               Signature of Attorney or Litigant
                                               Counsel for Global Supplies NY Inc.
                                               Law Office of Rachel S. Blumenfeld PLLC
                                               26 Court Street
                                               Suite 2220
                                               Brooklyn, NY 11242
                                               718-858-9600
                                               rachel@blumenfeldbankruptcy.com
                 Case 1-24-43232-ess              Doc 1       Filed 08/01/24          Entered 08/01/24 19:49:06



                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF NEW YORK


                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):           Global Supplies NY Inc.                                          CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:




                                                                 (OVER)
                 Case 1-24-43232-ess              Doc 1      Filed 08/01/24         Entered 08/01/24 19:49:06


DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):     Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


/s/ Rachel S. Blumenfeld
Rachel S. Blumenfeld
Signature of Debtor's Attorney                                            Signature of Pro Se Debtor/Petitioner
Law Office of Rachel S. Blumenfeld PLLC
26 Court Street
Suite 2220
Brooklyn, NY 11242                                                        Signature of Pro Se Joint Debtor/Petitioner
718-858-9600

                                                                          Mailing Address of Debtor/Petitioner


                                                                          City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                              Rev.8/11/2009
